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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


GAGHAN MECHANICAL, INC.                   )
    Plaintiff,                            )
                                          )
      v.                                  )                  Civil Action No. 17-1638 (BAH)
                                          )
PENNSYLVANIA NATIONAL MUTUAL              )
CASUALTY INSURANCE COMPANY                )
      Defendant.                          )
__________________________________________)


                               STIPULATION OF DISMISSAL


       Pursuant to FRCP 41, Plaintiff Gaghan Mechanical, Inc. and Defendant Pennsylvania

National Mutual Casualty Insurance Company (the “Parties”), by and through their undersigned

counsel, represent and submit that the matters, claims and things at issue among the Parties,

including all claims asserted in the above-captioned case as well as any and all claims arising out

of, or concerning the project at issue, have been settled and compromised, and that the above-

captioned action and the claims asserted therein should be dismissed with prejudice. Therefore,

the Parties, Gaghan Mechanical, Inc. and Pennsylvania National Mutual Casualty Insurance

Company, stipulate and agree that the above-captioned action, including all claims asserted

therein, is dismissed with prejudice, each party to pay its own costs and attorney’s fees.

       Dated this 20th day of October, 2017.




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                                  Respectfully submitted,

                                  GAGHAN MECHANICAL, INC.,
                                  By Counsel


                                  /s/ Gina L. Schaecher
                                  Gina L. Schaecher (Bar. No. 474018)
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                                  Tysons Corner, Virginia 22182
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                                  Counsel for Plaintiff Gaghan Mechanical,
                                  Inc.


                                  PENNSYLVANIA NATIONAL MUTUAL
                                  CASUALTY INSURANCE COMPANY
                                  By Counsel


                                  /s/ Brian W. Bisignani
                                  Brian W. Bisignani, Esquire
                                  POST & SCHELL, P.C.
                                  17 North Second Street, 12th Fl.
                                  Harrisburg, PA 17101-1601
                                  (717) 612-6041
                                  Counsel for Pennsylvania National Mutual
                                  Casualty Insurance Company




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                               CERTIFICATE OF SERVICE


       The undersigned hereby certifies that on this 20th day of October, 2017, the forging

Stipulation of Dismissal was electronically filed with the Court and was served upon Defendant

via the ECF System addressed to the following:


                                Brian W. Bisignani, Esquire
                                   POST & SCHELL, P.C.
                              17 North Second Street, 12th Fl.
                                Harrisburg, PA 17101-1601
                                       (717) 612-6041
                          Counsel for Pennsylvania National Mutual
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                                                            /s/ Gina L. Schaecher
                                                            Gina L. Schaecher, Esquire




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